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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION



CRIMINAL NO. 09-50018-002                USA v. JOSE PEREZ CLAUDIO

COURT PERSONNEL:                         APPEARANCES:

Judge: JIMM LARRY HENDREN                Govt. MATT WILSON

Clerk: GAIL GARNER                       Deft. MAURICIO HERRERA

Reporter: THERESA SAWYER


                         SENTENCING MINUTE SHEET


     On this date the above named defendant appeared in person and
with counsel for sentencing and is sworn.

      (X)    Inquiry made that defendant is not under influence of
             alcohol or drugs and is able to comprehend proceedings.
      (X)   Inquiry made whether defendant is under the care of a
             physician or taking any medication and is able to
             comprehend proceedings.
      (X)    Inquiry made that defendant is satisfied with counsel.
      (X)    Court determined that defendant and counsel have had
             opportunity to read and discuss presentence investigation
             report.
      (X)   Presentence investigation report reviewed in open court.
      (X)    Government moves for downward departure pursuant to
             18:3553(e) and 5K1.1 - granted and 2-level departure
             awarded.
      (X)    Court expresses final approval of plea agreement.
      (X)    Counsel for defendant afforded opportunity to speak on
             behalf of defendant.
      (X)    Defendant afforded opportunity to make statement and
             present information in mitigation of sentence.
      (X)    Attorney for government afforded opportunity to make
             statement to court.
      (X)    Court proceeded to impose sentence as follows:

            33 months imprisonment on Count 1, 84 months
            imprisonment on Count 2 to run consecutively;
            3 years supervised release on each count to run
            concurrently; $30,000.00 fine on Count 1, $15,000.00
            fine on Count 2 - interest waived; $9,004.91
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            restitution joint and several with co-defendants,
            Noel Jackson and Lisa Russell - interest waived.

      (X)   Defendant ordered to comply with standard conditions of
            supervised release.
      (X)   Defendant ordered to comply with the following special
            conditions of supervised release:

            Submit person, residence, place of employment, and
            vehicle to search upon request by USPO.

            Comply with any referral for alcohol or substance
            abuse testing as deemed necessary by USPO.

      (X)   Defendant ordered to pay total special assessment of
            $200.00, for counts 1 and 2, which shall be due
            immediately.
      (X)   Count 4 dismissed on motion by the government.
      (X)   Defendant advised of right to appeal sentence imposed.
      (X)   Defendant advised of right to apply for leave to appeal
            in forma pauperis.
      (X)   Appeal packet provided.
      (X)   Defendant remanded to custody of U.S. Marshal.



DATE: SEPTEMBER 8, 2009                         Proceeding began: 4:27 pm

                                                              ended: 5:15 pm
